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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Luke Combs
                                                          Plaintiff,
v.                                                                       Case No.:
                                                                         1:23−cv−14485
                                                                         Honorable Elaine
                                                                         E. Bucklo
The Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 15, 2023:


         MINUTE entry before the Honorable Elaine E. Bucklo: Plaintiffs' motion for entry
of default and default judgment against the defendants identified in First Amended
Schedule A [26] is granted. Enter Default Final Judgment Order. The Clerk of the Court is
directed to return the surety bond posted in the amount of ten thousand dollar ($10,000) to
Luke Combs or its counsel, Keith Vogt, Ltd., 33 West Jackson Boulevard, #2W Chicago,
Illinois 60604. Civil case terminated. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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